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IN THE UNITED STATES DISTRICT COURT
FOR THE Norxhey yy _ DISTRICT OF TEXAS
Delleas DIVISION

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Plaintiff’s name and ID Number

Woes test cl Wate

Place of Confinement 3 ™“ 0 4 ( y “ i 2 2 4 N

CASE NO:
(Clerk will assign the number)
v.
Costa Swonet US. DISTRICT COURT
Defehdant’s name and address NORTHERN DISTRICT OF TEXAS -

FILED 4 = =

Coro oi. Qa AK a

Defendant’s name and address JUN - 4 004
Nove

Defendant’s name and address CLERK, US. DISTRICT COURT

(DO NOT USE “ET AL.”)

By

Deputy

I. PREVIOUS LAWSUITS: 0 RK | G | N A L

A. Have you filed any other lawsuits in state or federgalcourt relating to your
imprisonment? YES NO

B. If your answer to “A” is “yes”, describe each lawsuit in the space below.
(If there is more than one lawsuit, describe the additional lawsuits on another piece of paper,
giving the same information.)

1.

2.

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Approximate date of filing lawsuit: _4-~@) \c Oa

Parties to previous lawsuit: _.
Plaintiff(s) > Doauid Uo. \\ians Velcon

Defendant(s) (. Jexc \ en

Court (if federal, name the district; if state, name the county)

Docket Number:

Name of judge to whom case was assigned:

Disposition: (Was the case dismissed, appealed, still pending?)

Xe ‘ A
Ssnsrs Sse

“
Approximate date of disposition: _*

IV.

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PLACE OF PRESENT CONFINEMENT: N\3...0.4¢ 4

EXHAUSTION OF GRIEVANCE PROCEDURES:

Have you exhausted both steps of the grievance procedure in this institution? ./ YES _ NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

PARTIES TO THIS SUIT:
A. Name of address of plaintiff: David Wo Wier Dobnscon Fayyrc,
MT enepeene
ACC cx ~~ YS. =\e Ono oe nS 7 oO we Ne x TAM > Uy

B. Full name of each defendant, his official position, his place of employment, and his full
mailing address.

Defendant #1: Poweic\k Soon e JL SP FOS
AR, Specasorn Osy4 VAOT\ EN 35 22, Sst \e ne x
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
Deli Ye cons 2 ced woscl > erow, Ae “Pee ay * \n SR YL SS Ve AS .
Defendant #2: Q\i\\ (yacdin C CAD YON
Rabecsson Wain ; yoy \ ENN 35 2D Me. \e Ae , Vy
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
i]
Defendant #3: _\S Oo. \ Ans a, Mase Ssieses Yau) FY 323
i}
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
uy Fo oi Vu ne feces: As - Wee CoS Atscie lina eS
Defendant #4: NS worse Chee Ge - Belse cAson Unit
Vacs Fy 28am Als lene “Vx TAGON
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
ReLosa) ow me Mice \ AVE Oy MeO YT
Defendant #5: \ Seven C' \ca \c
A] uv

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.
jl )t ir

STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it
happen, when did it happen, and who was involved. Describe how each defendant is involved. You
need not give any legal arguments or cite any cases of statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. Attach extra pages if neces-
sary, but remember that the complaint must be stated briefly and concisely. IF YOU VIOLATE THIS
RULE, THE COURT MAY STRIKE YOUR COMPLAINT.

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RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no
cases or statutes.

BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and
alj aliases:
Jurmmes (O. Wien Dy VS ANS, 5 ws on Oto Dokes cy
B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or
federal prison or FBI numbers ever assigned to you, if known to you.
BBV SCOUT GY ONES
SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed?
_ YES _“ NO
B. If your answer is “yes”, give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)
1. Court that imposed sanctions (if federal, give district and division):
2. Case Number:
3. Approximate date sanctions were imposed:
4. Have the sanctions been lifted or otherwise satisfied? _. YES NO
C. Has any court ever warned or notified you that sanctions could be imposed? _ = YES NO
D.

If your answer is “yes”, give the following information for every lawsuit in which warning was
imposed. (If more than one, use another piece of paper and answer

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the same questions.)

* 1. Court that imposed warning (if federal, give the district and division):

2. Case number:

3. Approximate date warnings were imposed:

Executed on:

DATE

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments
thereto are true and correct.

2. I understand if I am released or transferred, it is my responsibility to keep the Court informed
of my current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. I understand that I must exhaust all available administrative remedies prior to filing this
lawsuit.

4. lTunderstand Iam prohibited from bringing an in forma pauperis lawsuit if I have brought
three or more civil actions in a Court of the United States while incarcerated or detained in any
facility, which lawsuits are dismissed on the ground they were frivolous, malicious, or failed to

state a claim upon which relief may be granted, unless I am under imminent danger of serious
physical injury.

5. I understand even if I am allowed to proceed without prepayment of costs, I am responsible for
the entire $150 filing fee and costs assessed by the Court, which shall be deducted in accordance
with the law from my inmate account by my custodian until the filing fee is paid.

Signed this “LDA, dayor —§ NNoy 208 OU
(Day) (Month) . (Year)

(Sig&ature of Plaintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limited to monetary sanctions and/or the dismissal of this action with prejudice.

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